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                                     United States District Court
                                        District Of Maryland
     Chambers of                                                                        101 West Lombard Street
Ellen Lipton Hollander                                                                  Baltimore, Maryland 21201
  District Court Judge                                                                        410-962-0742



                                                     August 21, 2024

      LETTER TO COUNSEL

             Re:      David John Boshea v. Compass Marketing, Inc.
                      Civil No.: ELH-21-0309

      Dear Counsel:

             This will confirm and amplify the substance of our discussions during the lengthy
      telephone status conference held on August 21, 2024. The following schedule shall govern:

             1. Motion(s) for reconsideration as to ECF 275 and ECF 276 (if any) are due by 5:00
                p.m. on September 5, 2024.

             2. Plaintiff’s motion in limine concerning the Maryland statute of frauds is due by 5:00
                p.m. on November 4, 2024. The opposition is due by 5:00 p.m. on November 18,
                2024. A reply, if any is due by 5:00 p.m. on December 5, 2024.

             3. As contemplated in ECF 275 and ECF 276, the discovery deadline is November 22,
                2024.

             4. Any motion(s in limine, other than as to the statute of frauds, are due by 5:00 p.m. on
                December 2)3, 2024. The opposition is due by 5:00 p.m. on January 10, 2025. A
                reply, if any is due by 5:00 p.m. on January 24, 2025.

             5. The proposed joint pretrial order; proposed joint voir dire; proposed joint jury
                instructions; and proposed joint verdict sheet are due by 5:00 p.m. on January 17,
                2025.

                   Of course, you may file separately any proposed voir dire questions, jury instructions, and
                   verdict forms upon which you cannot agree. Copies of all submissions should be sent by
                   Microsoft Word format to my judicial assistant, Karen Warren, at
                   karen_warren@mdd.uscourts.gov Please be sure to include a table of contents and
                   “boilerplate” instructions with the proposed jury instructions, as well as legal citations for
                   any contested proposed jury instructions. In the event that you cite to an opinion that is not
                   in a reporter, please cite to Westlaw, not Lexis.
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       6. If necessary, a motions in limine hearing will be held on February 7, 2025, at 10:00
          a.m. The pretrial conference will follow immediately thereafter, in Chambers 5B. If
          there is no motion hearing, however, the pretrial conference will be held at 10:00 a.m.
          on February 7, 2025.

       7. Trial (jury, 6 days) will commence on February 24, 2025. Counsel are directed to
          report to Courtroom 5B at 9:30 a.m. on that date.

       Set forth below are instructions pertinent to your pretrial and trial preparation.

Guaranteeing Witness Availability

        Absent emergency circumstances, a party will guarantee the presence at trial of any
witness that party lists in the pretrial order, in accordance with Local Rule 106.2.i., as “expecting
to present” at trial.

Disclosure of Opinions of Expert Witnesses

        In addition to the information required by Local Rule 106.2.j, the pretrial order shall
include for each party a concise summary of the opinion testimony expected from each witness
identified by that party, pursuant to Fed. R. Civ. P. 26(a)(2)(A) and (B) who may testify at trial.
The parties shall identify those witnesses designated pursuant to Rule 26(a)(2)(A) separately
from those designated pursuant to Rule 26(a)(2)(B).

Exhibits

        Please be prepared to advise me at the pretrial conference if there are any objections to
the documents and exhibits listed in the pretrial order, in accordance with Local Rule 106.2.h.
Any objections not disclosed at that time, other than objections under Fed. R. Evid. 401 and 403,
shall be deemed waived at trial, unless excused for good cause shown.

       All exhibits must be tagged and numbered prior to trial in accordance with Local Rule
106.7.a. You must meet with one another prior to trial to review and make available for copying
one another’s exhibits in accordance with Local Rule 106.7.b.

Use of Courtroom Equipment

       Please be prepared to advise me at the pretrial conference if you would like to use at trial
any courtroom technologies.

Trial Instructions

        Please read carefully the attached memorandum, entitled “Instructions To Counsel Re
Trial Procedure And Conduct.” You are responsible for knowing the contents of these
instructions and all of the provisions of Local Rule 107 concerning trial conduct.



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       Despite the informal nature of this letter, it is an Order of the Court and the Clerk shall
docket it as such.

                                                      Sincerely,

                                                      /s/
                                                      Ellen Lipton Hollander
                                                      United States District Judge




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